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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

ERIC LYLE WILLIAMS,                               §
                                                  §
               Petitioner,                        §
                                                  §
v.                                                §
                                                  §      No. 3:20-CV-3030-N
BOBBY LUMPKIN, Director, Texas                    §
Department of Criminal Justice,                   §
Correctional Institutions Division,               §
                                                  §
               Respondent.                        §

 ORDER DENYING MOTION FOR RECONSIDERATION OF DENIAL OF MOTION FOR
                         EXPERT FUNDING

        The matter before the Court is Williams’ unsealed motion, filed August 9, 2021 (ECF no.

54) requesting reconsideration of this court’s prior Sealed Order (issued July 27, 2021, ECF no.

52) denying his renewed motion seeking funding for experts on ballistics and cell tower data.

        For the reasons discussed at length in this court’s Sealed Order issued July 27, 2021 (ECF

no. 52), Williams’ renewed ex parte motion for expert funding, filed under seal on July 23, 2021

(ECF no. 51), is without arguable. The same is true for Williams’ latest funding motion.

        As this court has previously explained, the presence or absence of Eric Lyle Williams’ cell

phone from the location where Williams’ capital offense took place at or near the time of that

offense is neither exculpatory, mitigating, nor (because no cell phone data was introduced during

Williams’ capital murder trial) impeaching.      The same goes for the cell phone data of “Kim

Williams,” to which Williams refers on page 4 of his most recent funding motion.

        Likewise, during his state habeas corpus proceeding, Williams fully litigated his claim that

his trial counsel rendered ineffective assistance in failing to adequately challenge the prosecution’s

ballistics evidence.   The state habeas court denied that ineffective assistance claim on the merits.
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Under the Supreme Court’s holding in Cullen v. Pinholster, 563 U. S. 170, 181-82 (2011),

Williams is not entitled to re-litigate the same claim in this court using new evidence.

Accordingly, it is hereby ORDERED that:

       1.   Williams’ motion for reconsideration of the denial of his sealed renewed motion for

expert funding, filed August 9, 20231 (ECF no. 54), is DENIED.

       2.   The Clerk shall immediately transmit a copy of this Order to the Clerk of the Fifth

Circuit, attn: Meg Alverson.

       SIGNED August 10, 2021.



                                                  ____________________________________
                                                  DAVID C. GODBEY
                                                  UNITED STATES DISTRIC JUDGE




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